Case 1:22-cv-10904-JSR Document 238-23 Filed 07/25/23 Page 1 of 8




                 EXHIBIT 48
       Case 1:22-cv-10904-JSR Document 238-23 Filed 07/25/23 Page 2 of 8




                     UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF NEW YORK

JANE DOE, individually and on behalf of
all others similarly situated,

       Plaintiff,
v.                                              Case Number: 1:22-cv-10019-JSR

JPMORGAN CHASE BANK, N.A.

       Defendant/Third-Party Plaintiff.


GOVERNMENT OF THE UNITED
STATES VIRGIN ISLANDS,

       Plaintiff,
v.                                              Case Number: 1:22-cv-10904-JSR

JPMORGAN CHASE BANK, N.A.

       Defendant/Third-Party Plaintiff.


JPMORGAN CHASE BANK, N.A.

       Third-Party Plaintiff,

v.

JAMES EDWARD STALEY

       Third-Party Defendant.


           THIRD-PARTY DEFENDANT JAMES E. STALEY’S RESPONSES
          AND OBJECTIONS TO UNITED STATES VIRGIN ISLANDS’ FIRST
                    SET OF REQUESTS FOR ADMISSIONS

       Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, Third-Party

Defendant James E. Staley, through undersigned counsel, hereby responds and objects to the

United States Virgin Island’s First Requests for Admissions in the above-captioned matters.


                                               1
        Case 1:22-cv-10904-JSR Document 238-23 Filed 07/25/23 Page 3 of 8




   9. Staley objects to each Request to the extent that it improperly “seek[s] information as to

       fundamental disagreement at the heart of the lawsuit.” Republic of Turkey v. Christie's,

       Inc., 326 F.R.D. 394, 400 (S.D.N.Y. 2018) (citing Wright & Miller, Fed. Prac. & P. §

       2252; Tamas v. Fam. Video Movie Club, Inc., 301 F.R.D. 346, 347 (N.D. Ill. 2014)).

   10. Staley objects to each Request to the extent that it amounts to an improper use of Requests

       for Admission as a discovery device. Pasternak v. Dow Kim, 2011 WL 4552389, at *5

       (S.D.N.Y. Sept. 28, 2011) (requests for admission “presuppose[] that the party proceeding

       under [Rule 36] knows the facts” and “merely wishes its opponent to concede their

       genuineness.” (citations omitted)); Robinson v. De Niro, 2022 WL 101909, at *2

       (S.D.N.Y. Jan. 11, 2022) (“[R]equests for admission are used to establish admission of

       facts about which there is no real dispute,” not to obtain new information).

   11. Staley objects to each Request to the extent that it is vague because it uses terms that are

       susceptible to more than one meaning, ambiguous, overly broad, or unduly burdensome.

       Fed. R. Civ. P. 26(b)(1).

   12. Staley objects to each Request to the extent that it requests an admission not “relevant to

       any party’s claim or defense” and therefore, not “proportional to the needs of the case.”

       Fed. R. Civ. P. 26(b)(1).

                             II.     REQUESTS FOR ADMISSION

REQUEST FOR ADMISSION NO. 1:

Admit that You were CEO of JPMorgan Asset Management between 2001-2009.

RESPONSE TO REQUEST FOR ADMISSION NO. 1:

       Subject to and without waiving the General Objections, and reserving the right to amend or

supplement his response as further information is discovered, Staley denies this Request. He admits

                                                 4
        Case 1:22-cv-10904-JSR Document 238-23 Filed 07/25/23 Page 4 of 8




that he was the CEO of JPMorgan Asset and Wealth Management.

REQUEST FOR ADMISSION NO. 2:

Admit that You were CEO of JPMorgan Investment Bank between 2009-2012.

RESPONSE TO REQUEST FOR ADMISSION NO. 2:

       Subject to and without waiving the General Objections, and reserving the right to amend or

supplement his response as further information is discovered, Staley admits this Request.

REQUEST FOR ADMISSION NO. 3:

Admit that You signed a written affirmation each year between 2006-2012 where You pledged to
remain in compliance with JPMorgan’s Code of Conduct.

RESPONSE TO REQUEST FOR ADMISSION NO. 3:

       In addition to and specifically incorporating his foregoing General Objections, Staley

objects to Request No. 3 because it inappropriately incorporates documents by reference.

       Subject to and without waiving the foregoing objections, and reserving the right to amend

or supplement his response as further information is discovered, Staley admits that he signed

certifications that speak for themselves. Otherwise the request is denied.

REQUEST FOR ADMISSION NO. 4:

Admit that You provided information to JPMorgan regarding Your friendship with Epstein.

RESPONSE TO REQUEST FOR ADMISSION NO. 4:

       In addition to and specifically incorporating his foregoing General Objections, Staley

objects to Request No. 4 because the terms “information” and “friendship” are vague because they

are susceptible to more than one meaning.

       Staley objects to Request No. 4 because it seeks information that is not “relevant to any

party’s claim or defense” and therefore not “proportional to the needs of the case.” Fed. R. Civ. P.

26(b)(1).
                                                 5
        Case 1:22-cv-10904-JSR Document 238-23 Filed 07/25/23 Page 5 of 8




       Staley objects to Request No. 16 because it seeks information that is not “relevant to any

party’s claim or defense” and therefore not “proportional to the needs of the case.” Fed. R. Civ. P.

26(b)(1).

       Subject to and without waiving the foregoing General Objections, and reserving the right to

amend or supplement his response as further information is discovered, Staley denies this Request.

REQUEST FOR ADMISSION NO. 17:

Admit that Epstein referred or otherwise introduced JPMorgan to other ultra-high net worth
individuals as clients or for additional activities or funds to JPMorgan Private Bank.

RESPONSE TO REQUEST FOR ADMISSION NO. 17:

       In addition to and specifically incorporating its foregoing General Objections, Staley

objects to Request No. 17 because the terms “ultra-high net worth individuals,” “clients,”

“additional activities or funds” are vague because they are susceptible to more than one meaning.

       Staley objects to Request No. 17 because it seeks information that is not “relevant to any

party’s claim or defense” and therefore not “proportional to the needs of the case.” Fed. R. Civ. P.

26(b)(1).

       Staley objects to Request No. 17 to the extent it is directed at JPMC’s knowledge or actions

because Staley is not a designated 30(b)(6) witness for JPMC. As such, Staley will only respond to

the extent the Request seeks information based on his personal knowledge.

       Subject to and without waiving the foregoing General Objections, and reserving the right to

amend or supplement his response as further information is discovered, Staley admits this Request.

REQUEST FOR ADMISSION NO. 18:

Admit that JPMorgan obtained fees, revenue, and business referrals in connection with JPMorgan’s
banking relationship with Epstein.

RESPONSE TO REQUEST FOR ADMISSION NO. 18:

                                                 12
        Case 1:22-cv-10904-JSR Document 238-23 Filed 07/25/23 Page 6 of 8




“reporting,” “allegations,” and “human trafficking” are vague because they are susceptible to more

than one meaning and call for improper legal conclusions. Carver, 2018 WL 4579831, at *2.

       Staley objects to Request No. 110 to the extent that it assumes or implies that Staley knew

about, had reason to know, or should have known of Epstein’s actions and because it seeks a legal

conclusion and thus seeks admissions outside the scope of the Federal and Local Rules. Id.

       Staley objects to Request No. 110 because it “seek[s] information as to fundamental

disagreement at the heart of the lawsuit.” Republic of Turkey, 326 F.R.D. at 40.

       Staley objects to Request No. 110 because it abuses Requests for Admission as a discovery

device. See Pasternak, 2011 WL 4552389, at *5; De Niro, 2022 WL 101909, at *2.

       Staley objects to Request No. 110 to the extent that it is improperly compound, conjunctive,

or disjunctive. Fed. R. Civ. P. 36(a)(2).

       Staley objects to Request No. 110 as improperly incorporating a document or documents by

reference without an opportunity to test their veracity and authenticity. As such, Staley further

objects to Request No. 110 to the extent it assumes that a person who read what was “report[ed]” in

the “newspaper or other media articles” had to assume the report to be a full, true, complete, and

accurate account of the people, actions, or events it described.

       Subject to and without waiving the foregoing objections, and reserving the right to amend

or supplement his response as further information is discovered, Staley admits that he received and

reviewed articles about Epstein. Otherwise the request is denied.

REQUEST FOR ADMISSION NO. 111:

Admit that in 2006 Jamie Dimon communicated with You regarding Epstein’s arrest on charges of
procuring a minor for prostitution and solicitation of a prostitute.

RESPONSE TO REQUEST FOR ADMISSION NO. 111:

       In addition to and specifically incorporating his foregoing General Objections, Staley
                                                  76
        Case 1:22-cv-10904-JSR Document 238-23 Filed 07/25/23 Page 7 of 8




objects to Request No. 111 because the terms “communicated,” “regarding,” “arrest,” “charges of

procuring a minor for prostitution,” and “solicitation of a prostitute” are vague because they are

susceptible to more than one meaning and call for improper legal conclusions. Carver, 2018 WL

4579831, at *2.

       Staley objects to Request No. 111 to the extent that it assumes or implies that Staley knew

about, had reason to know, or should have known of Epstein’s actions and because it seeks a legal

conclusion and thus seeks admissions outside the scope of the Federal and Local Rules. Id.

       Staley objects to Request No. 111 because it “seek[s] information as to fundamental

disagreement at the heart of the lawsuit.” Republic of Turkey, 326 F.R.D. at 40.

       Staley objects to Request No. 111 because it abuses Requests for Admission as a discovery

device. See Pasternak, 2011 WL 4552389, at *5; De Niro, 2022 WL 101909, at *2.

       Subject to and without waiving the foregoing objections, and reserving the right to amend

or supplement his response as further information is discovered, Staley admits this Request.

REQUEST FOR ADMISSION NO. 112:

Admit that in 2006 Mary Erdoes communicated with You regarding Epstein’s arrest on charges of
procuring a minor for prostitution and solicitation of a prostitute.

RESPONSE TO REQUEST FOR ADMISSION NO. 112:

       In addition to and specifically incorporating his foregoing General Objections, Staley

objects to Request No. 112 because the terms “communicated,” “regarding,” “arrest,” “charges of

procuring a minor for prostitution,” and “solicitation of a prostitute” are vague because they are

susceptible to more than one meaning and call for improper legal conclusions. Carver, 2018 WL

4579831, at *2.

       Staley objects to Request No. 112 to the extent that it assumes or implies that Staley knew

about, had reason to know, or should have known of Epstein’s actions and because it seeks a legal
                                                 77
       Case 1:22-cv-10904-JSR Document 238-23 Filed 07/25/23 Page 8 of 8



May 22, 2023
                                                      By: /s/ Brendan V. Sullivan, Jr.

                                                           Brendan V. Sullivan Jr.
                                                               Zachary K. Warren
                                                          Stephen L. Wohlgemuth
                                                   WILLIAMS & CONNOLLY LLP
                                                           680 Maine Avenue SW
                                                           Washington, DC 20024
                                                              Tel: (202) 434-5252
                                                             Fax: (202) 434-5029
                                                                zwarren@wc.com


                                                  Counsel for Third-Party Defendant
                                                               James Edward Staley




                                       5
